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                              IN THE UNITED STATES'DISTRICT COURT
                           FOR THE WESTERN DISTRICT OF PENNS YLVANIA



MICHAEL STONE,                                     )
                                                   )
                      Plaintiff,                   )
                                                   )
               vs.                                 )       Civil Action No.
                                                   )
KILLION AND SONS WELL SERVICE,                     )       JURY TRIAL DEMANDED
INC., A Corporation                                )
                                                   )
                      Defendant.                   )


                                               COMPLAINT

               AND NOW, comes the Plaintiff, Michael Stone ("Plaintiff'), by and through his attorneys,

Samuel J. Pasquarelli, Esquire and Sherrard, German & Kelly, P.C. and files this Complaint

against Killion and Sons Well Service, Inc. ("Defendant"),             averring in support thereof the

following:

                                           I. INTRODUCTION

               1.     This is a proceeding seeking damages against Defendant Killion & Sons Well

Service, Inc. ("Defendant") and all other available relief under the Fair Labor Standards Act

("FLSA"), 29 U.S.C. §§ 201, et seq. and the Pennsylvania Minimum Wage Act ("PMWA"), 43

P.S.§§ 333.101, et seq.


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                                    II. JURISDICTION AND VENUE

                2.    Jurisdiction over the FLSA claim is proper under 29 U.S.C. § 216(b) and 28 U.S.C.

 § 1331, jurisdiction over the PMWA claim is proper under 28 U.S.C. § 1367 and venue is proper

 under 28 U.S.C. § 1391.

                                                 PARTIES

            3.       Plaintiff is an individual now residing at 120 Sassafras Drive, Washington,

Washington County, Pennsylvania.            At all times relevant to this matter, the Plaintiff was an

employee of the Defendant and he was employed in the Western District of Pennsylvania while

employed by the Defendant.

            4.       The Plaintiff is an employee covered by the FLSA and the PMW A.

            5.       The Defendant is a corporate entity headquartered in Palestine, TX and maintaining

a local office in Houston, Washington County, Pennsylvania.

            6.       The Defendant is an employer covered by the FLSA and the PMW A.

                                                   FACTS

            7.       The Defendant provides a variety of on-site services at gas and oil drilling sites m

the Western District of Pennsylvania, including Washington County, Pennsylvania, consisting in

part of testing and monitoring of gas and oil wells, pumping services, flow back services, and

maintaining on-site production equipment.

            8.       During the period relevant to this lawsuit, the Defendant has employed over 70

individuals at gas and oil drilling sites in Pennsylvania and elsewhere, including the Western

District of Pennsylvania. These individuals are referred to as "field employees."



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               9.       Plaintiff was first employed by Defendant as a field employee in the Western District

of Pennsylvania commencing in April of 2014 and he is remained continuously employed by the

Defendant until February 4, 2017.

               1 O.       Plaintiff and other field employees are paid on a daily basis.    Plaintiff was hired

at the rate of $200 per day, which rate was thereafter raised to $225.00 per day.

               11.      The Plaintiffs   fixed work schedule was 9 consecutive days of 12-hour shifts

followed by 3 consecutive days off during a work week which commenced at 12:01 AM on

Monday and which ended at 11 :59 PM on Sunday. As a result, Plaintiff consistently worked over

40 hours per week.

               12.      Plaintiff is entitled by federal and state law to overtime compensation at the rate of

1. 5 times the regular rate of pay for hours worked over 40 per week.

               13.      The Defendant has failed to pay the Plaintiff the required overtime compensation for

hours worked in excess of 40 per work week in those work weeks when he worked in excess of 40

hours in that the Defendant has failed to calculate the Plaintiffs weekly pay in accordance with the

requirement that all hours worked by the Plaintiff in excess of 40 per work week are to be paid for

at a rate of 1.5 times the hourly rate due to him for the first 40 hours of work in the work week.

               14.      The Defendant generated payroll records and pay stubs purporting to show that the

Defendant paid the Plaintiff at an agreed hourly rate for the first 40 hours of the work week and that

the Defendant paid the Plaintiff at an hourly rate of 1.5 times the agreed hourly rate for all hours

worked in excess of 40 in a work week when in fact the Defendant paid the Plaintiff at a flat per

diem rate for the work week that did not include payment for hours of work in excess of 40 in a

work week at the legally required overtime rate of pay.

               15.      The conduct of the Defendant as described above was done willfully and in an

 intentional and reckless disregard of applicable legal requirements, with the intention of avoiding



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 the payment of overtime compensation for hours worked in excess of 40 in a work week. As such,

 said conduct was a willful violation of the FLSA and the PMW A.

                                                   COUNT I
                                           (Violations of the FLSA)

               16.   All of the foregoingparagraphs of this Complaintare incorporated herein as though

fully set forth herein.

               17.   The FLSA requires that employees receive overtime premium compensation not

less than one and one-halftimes" the regular pay rate for hours worked over 40 per work week.

               18.   The Defendantviolatedthe FLSA by failingto pay the Plaintiffthe overtimepremium

for hours workedover40 per work week.

               19.   In so doing, the Defendant acted willfully and intentionally and in reckless

disregard of the provisions of the FLSA.

                                                   COUNT II
                                          (Violations of the PMW A)

               20.   All of the foregoingparagraphsof this Complaintare incorporated herein as though

fully set forth herein.

               21.   The PMWA requires that employeesreceive overtime premium compensation "not

less than one and one-half times" the employee's regular pay rate for hours worked over 40 per

work week. The Defendant violated the PMWA by failing to pay Plaintiff the aforesaidovertime

premium for hours worked over 40 per work week.

                                         III.   JURY DEMAND

               22.   Plaintiff demands a trial by jury of all issues in this action.

                                           PRA YER FOR RELIEF

               WHEREFORE, Plaintiff seeks the followingrelief:

        Payment to him of all unpaid wages, including overtime wage payment, as required by
federal and state law;

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      Payment to him of all interest and liquidated damages as permitted under the FLSA and
thePMWA;

        Payment to him of all litigation costs, expenses, and attorneys' fees as permitted under
federal and state law; and

               All such other and further relief as this Court deems just and proper.


                                                             Respectfully submitted,

                                                             SHERRARD, GERMAN & KELL Y, P.C.


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